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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 v.                                               §   CRIMINAL NO. 4:01cr29
                                                  §
 PATRICK NEAL ROSS (8)                            §

                MEMORANDUM ADOPTING REPORT AND
        RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

        Came on for consideration the above-referenced criminal action, this Court having heretofore

 referred the request for modification of Defendant’s supervised release to the United States

 Magistrate Judge for proper consideration. The Court has received the report of the United States

 Magistrate Judge pursuant to its order. Defendant having waived allocution before this Court as well

 as his right to object to the report of the Magistrate Judge, the Court is of the opinion that the

 findings and conclusions of the Magistrate Judge are correct.

        It is, therefore, ORDERED that the Magistrate Judge’s Report is ADOPTED as the opinion

 of the
     . Court. It is further ORDERED that Defendant’s supervised release is hereby REVOKED.

 It is further ORDERED that Defendant be committed to the custody of the Bureau of Prisons to be

 imprisoned for a term of 8 months, with 60 months of supervised release to follow as to Count I and

 28 months of supervised release as to Count XVIII, to run concurrently with each other but

 consecutively to any misdemeanor charges being served.

        IT IS SO ORDERED.

        SIGNED this 2nd day of November, 2010.




                                                          ____________________________________
                                                          MICHAEL H. SCHNEIDER
                                                          UNITED STATES DISTRICT JUDGE
